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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
         Plaintiff,                             §
                                                §
 v.                                             §   CRIMINAL NO. SA-24-CR-573-JKP
                                                §
 (1) FELIX RODRIGUEZ-VARGAS                     §
                                                §
 (2) EDWIN PELAYO,                              §

         Defendants.

             BILL OF PARTICULARS FOR FORFEITURE OF PROPERTIES

        Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney, and files the

following Bill of Particulars for Forfeiture of Properties.

        The Indictment (Doc. 24), returned on November 20, 2024, gave notice that the United

States seeks the criminal forfeiture of certain properties pursuant to Title 18 U.S.C. § 934(a)(1)(A)

and (B) and Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C.

§ 2461(c) from Defendants FELIX RODRIGUEZ-VARGAS and EDWIN PELAYO. Specifically,

this Bill of Particulars seeks the criminal forfeiture of properties which are included herein.

        The United States hereby gives notice that it seeks the criminal forfeiture of certain

properties from the Defendants for the violations of Title 18 U.S.C. § 933(a)(2) and (3) as follows:

      NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                          [See Fed. R. Crim. P. 32.2]

                                               I.
                         Firearm Violation and Forfeiture Statutes
           [Title 18 U.S.C. § 933(a)(2) and (a)(3) subject to forfeiture pursuant to
                            Title 18 U.S.C. § 934(a)(1)(A) and (B)]

        As a result of the criminal violations set forth in Counts One and Two, the United States
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of America gives notice to the Defendants of its intent to seek the forfeiture of certain property

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B),

which state:

         Title 18 U.S.C. § 934. Forfeiture and Fines.
         (a) Forfeiture. --
            (1) In general. -- Any person convicted of a violation of section
            932 or 933 shall forfeit to the United States, irrespective of any provision of
            State law--
                 (A) any property constituting, or derived from, any proceeds the person
                 obtained, directly or indirectly, as the result of such violation; and
                 (B) any of the person's property used, or intended to be used, in any manner
                 or part, to commit, or to facilitate the commission of, such violation . . .

This Notice of Demand for Forfeiture includes, but is not limited to, the property described

below.
                                                III.
                                              Property


         1.   Sig Sauer handgun, SN: 66g340432
         2.   Glock handgun, SN: BAZR771
         3.   Short barrel H&K rifle, SN: 241409885
         4.   $107,600 in United States Currency
         5.   Black GMC Sierra displaying Texas license plates 6495Y81; and
         6.   Any and all firearms, ammunition, and/or firearm accessories involved in or used in
              the commission of the criminal offense(s).



                                                      Respectfully submitted,
                                                      MARGARET F. LEACHMAN
                                                      Acting United States Attorney


                                               By:    /s/
                                                      RAY A. GATTINELLA
                                                      Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2025, a true and correct copy of the foregoing instrument

was electronically filed with the Clerk of the Court using the CM/ECF System which will transmit

notification of such filing to counsel of record.




                                                               /s/
                                                        RAY A. GATTINELLA
                                                        Assistant United States Attorney




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